Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 1 of 13




                 Exhibit A
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 2 of 13




 1                                                                   THE HONORABLE JOHN H. CHUN

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 5

 6                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8
      FEDERAL TRADE COMMISSION, et al.,
                                                                   CASE NO.: 2:23-cv-01495-JHC
 9
                         Plaintiffs,
                                                                   [PLAINTIFFS’ PROPOSED] CASE
10
                                                                   MANAGEMENT ORDER
                   v.
11
      AMAZON.COM, INC., a corporation,
12
                         Defendant.
13

14           Pursuant to the Joint Status Report and Discovery Plan submitted by the parties, the

15 Court orders that the following shall govern the proceedings:

16           1.     Status Conferences

17                  a.         The Court will hold a bimonthly [video/telephonic] status conference,

18 starting two months after the Court issues a scheduling order, or at such times as the Court

19 determines in its discretion.

20                  b.         The parties shall submit a joint status report no later than three business

21 days before each scheduled status conference containing a brief update regarding the status of

22 discovery, any discovery disputes where the Court’s guidance could be productive, and any other

23 matters the parties wish to bring to the Court’s attention. Any party that intends to raise a

24 discovery dispute in the joint status report shall notify the other side of its intent to do so, in
     CASE MANAGEMENT ORDER - 1                                             FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                                600 Pennsylvania Avenue, NW
                                                                                      Washington, DC 20580
                                                                                             (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 3 of 13




 1 writing, no later than five business days before the joint status report is due. Nothing herein shall

 2 preclude any party from otherwise submitting discovery disputes in accordance with the

 3 procedures of the Local Rules or this Order.

 4          2.      Document Requests

 5                  a.     The parties must serve responses and objections to requests for production

 6 of documents within 30 days as required by FRCP 34, unless otherwise agreed by the parties. At

 7 the time it serves its responses, the producing party will provide estimated dates for when it will

 8 begin rolling document productions of the documents it has agreed to produce in its responses

 9 and for the completion of that production, or alternately propose a date for an inspection of

10 documents.

11                  b.     Within 14 days of service of any responses and objections, the parties

12 must start the meet and confer process in good faith regarding any disputes, including disputes

13 regarding the producing party’s responses and objections, the scope of the producing party’s

14 collection, search, and review of documents (including regarding custodians and any search

15 methodology, if applicable), and the timing of document production.

16                  c.     All document productions shall be made on a rolling basis.

17                  d.     To the extent that there is a dispute regarding the fact or scope of

18 production that affects the producing party’s ability to provide estimated times for when it will

19 begin and complete its document production, the producing party will supplement its good-faith

20 estimates, or alternately propose a date for an inspection of documents, upon the resolution of

21 such disputes.

22                  e.     The parties shall substantially complete document production by August 1,

23 2024 in response to requests for production issued on or before February 1, 2024, and shall

24 substantially complete document production by December 1, 2024 in response to requests for
     CASE MANAGEMENT ORDER - 2                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 4 of 13




 1 production issued on or before June 1, 2024. These deadlines shall not be construed as limiting

 2 the parties’ ability to issue discovery requests, or as limiting the scope of those requests. The

 3 parties may agree to modify these dates. The provisions in this paragraph 2(e) do not apply to

 4 productions of structured data.

 5          3.     Structured Data

 6                 a.      Paragraphs 2(a) through 2(d) above apply to requests for production of

 7 structured data.

 8                 b.      If a party identifies sources of its own structured data in its Rule 26(a)(1)

 9 disclosures, or in supplements or amendments to such disclosures, the party shall provide

10 samples and data dictionaries for all such sources of structured data within 45 days.

11                 c.      If a request for production calls for the responding party’s structured data,

12 the responding party shall provide samples and data dictionaries for all such sources of structured

13 data that may be responsive to that request within 45 days after the request is served.

14                 d.      The parties shall complete productions of structured data as follows,

15 unless otherwise agreed to by all parties: within 20 days after the parties agree on the scope of

16 production, for data sets 10 TB or smaller; within 40 days after the parties agree on the scope of

17 production, for data sets larger than 10 TB but 100 TB or smaller; and within 60 days after the

18 parties agree on the scope of production, for data sets larger than 100 TB.

19                 e.      The parties shall complete the production of structured data by August 1,

20 2024 in response to requests for production issued on or before February 1, 2024; shall complete

21 the production of structured data by December 1, 2024 in response to requests for production

22 issued on or before June 1, 2024; and shall complete the production of structured data by

23 February 1, 2025 in response to requests for production issued on or before October 1, 2024.

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     CASE MANAGEMENT ORDER - 3                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 5 of 13




 1                  f.      Any significant volume of data may be produced by AWS s3 buckets to

 2 facilitate efficient transmission of the data.

 3                  g.      In the event of any conflict between the deadlines in paragraphs 2(d) and

 4 2(e) above, the deadlines in paragraphs 2(e) control.

 5                  h.      These deadlines shall not be construed as limiting the parties’ ability to

 6 issue discovery requests, or as limiting the scope of those requests.

 7          4.      Interrogatories

 8                  a.      Each side is limited to 40 interrogatories in total, including discrete

 9 subparts. Each side reserves the right to ask the Court for leave to serve additional

10 interrogatories. If the same interrogatory is served on multiple Plaintiffs, it shall count as a

11 single interrogatory, regardless of the number of Plaintiffs served.

12                  b.      The parties must serve responses and objections to interrogatories within

13 30 days as required by FRCP 33, unless otherwise agreed by the parties. If the responding party

14 opts to respond by producing business records pursuant to FRCP 33(d), Paragraphs 2(a) through

15 2(e) above shall apply.

16                  c.      Within 14 days of service of any responses and objections, the parties

17 must start the meet and confer process in good faith regarding any disputes, including disputes

18 regarding the producing party’s responses and objections, whether any interrogatory may be

19 satisfied by the production of documents or structured data, the scope of the producing party’s

20 collection, search, and review of documents, if applicable (including regarding custodians and

21 any search methodology, if applicable), and the timing of document production, if applicable.

22          5.      Requests for Admission

23                  a.      Each side is limited to 200 requests for admission in total. Requests for

24 admission relating solely to the authentication or admissibility of documents, data, or other
     CASE MANAGEMENT ORDER - 4                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 6 of 13




 1 evidence (which are issues that the parties must attempt to resolve initially through good-faith

 2 negotiation) do not count against these limits. Each side reserves the right to ask the Court for

 3 leave to serve additional requests for admission.

 4                  b.     The parties must serve responses and objections to requests for admission

 5 within 30 days as required by FRCP 36, unless otherwise agreed by the parties.

 6                  c.     The close of fact discovery shall not limit requests for admission regarding

 7 authentication or admissibility.

 8          6.      Depositions

 9                  a.     Each side is limited to 630 total deposition hours for party witnesses

10 (including former employees of a party being deposed in that capacity) and 350 total deposition

11 hours for nonparty witnesses. These time limitations refer to the time of testimony actually taken

12 on the record. These limitations apply only to fact discovery. The following do not count

13 against these limitations: (a) depositions of the parties’ expert witnesses; (b) sworn testimony

14 taken during Plaintiffs’ pre-Complaint investigation or in any other litigation or government

15 investigation; (c) depositions taken for the sole purpose of establishing the authenticity or

16 admissibility of documents, data, or other evidence, provided that such depositions must be

17 designated as such at the time they are noticed.

18                  b.     Where the parties and the deponent consent, depositions may be held

19 remotely. The parties will meet and confer regarding a protocol for remote depositions. Nothing

20 in this Order prevents a party from seeking an in-person deposition.

21                  c.     The parties will use their best efforts to make witnesses available for

22 deposition at a mutually agreeable time and location and without undue delay.

23                  d.     If a witness is a former employee of a party, that party shall promptly, and

24 no later than 14 days of receiving a deposition notice for the former employee, provide the
     CASE MANAGEMENT ORDER - 5                                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 7 of 13




 1 following information to the extent that it is known: (a) the former employee’s date of departure

 2 and last known address; (b) whether the party’s counsel will be representing the former

 3 employee in connection with the deposition, and if so, whether the party’s counsel will accept

 4 service of a subpoena; and (c) if the party’s counsel will not be representing the former employee

 5 in connection with the deposition, the name and contact information for the witness’ counsel or

 6 that the witness is unrepresented. The party shall promptly supplement any information that is

 7 subsequently known to the party.

 8                  e.      If a party serves a subpoena for the production of documents or ESI on a

 9 nonparty and subpoena commanding a deposition by a witness for the nonparty, the party serving

10 those subpoenas must schedule the witness’s deposition for a date at least 14 days after the return

11 date for the document subpoena. If the return date for the document subpoena is extended, then

12 absent consent from both sides the deposition must be postponed to a date at least 14 days after

13 the completion of production for substantially all documents called for by the subpoena (as

14 modified by any negotiations regarding subpoena compliance) (a) with respect to which the

15 witness is an author, sender, recipient, or custodian; and (b) that are contained in a shared filing

16 location or electronic or physical repository that the witness had access to in the ordinary course

17 of business.

18                  f.      If a party serves a subpoena for the production of documents or ESI on a

19 nonparty and subpoena commanding a Rule 30(b)(6) deposition for the nonparty, the party

20 serving those subpoenas must schedule the deposition for a date at least 14 days after the return

21 date for the document subpoena. If the return date for the document subpoena is extended, then

22 absent consent from both sides the deposition must be postponed to a date at least 14 days after

23 the completion of production for substantially all documents called for by the subpoena (as

24 modified by any negotiations regarding subpoena compliance).
     CASE MANAGEMENT ORDER - 6                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 8 of 13




 1          7.      Discovery on Nonparties. The requesting party must provide all other parties

 2 with a written record of any oral or written modifications, extensions, or postponements to the

 3 discovery request within 3 business days of the modification, extension, or postponement. Every

 4 discovery request to a nonparty shall include a cover letter requesting that the nonparty provide

 5 copies of all productions to both the requesting party and the other side at the same time.

 6          8.      Expedited Joint Motion Procedure. The parties may use the expedited joint

 7 motion procedure for discovery disputes in LCR 37(a)(2), at the moving party’s election. The

 8 parties may also file discovery motions using the standard procedure set forth in LCR 7.

 9          9.      Service of Pleadings and Discovery on Other Parties. Service of all pleadings,

10 motions, and other papers that are filed shall be made by ECF (which will send notice to all

11 parties and nonparties registered with ECF). Service of all discovery notices, requests (including

12 subpoenas for testimony or documents under FRCP 45), and written responses shall be made by

13 email to the persons whose email is listed below. If the volume of attachments makes service by

14 email impracticable, a party shall make service via a secure FTP service or overnight delivery to

15 the persons listed below. The parties may modify this list by agreement.

16          Plaintiffs

17          Susan A. Musser, smusser@ftc.gov
            Edward H. Takashima, etakashima@ftc.gov
18          Danielle C. Quinn, dquinn@ftc.gov
            Emily K. Bolles, ebolles@ftc.gov
19          Colin M. Herd, cherd@ftc.gov
            Daniel A. Principato, dprincipato@ftc.gov
20          Michael Jo, Michael.Jo@ag.ny.gov
            Rahul Darwar, Rahul.Darwar@ct.gov
21          Alexandra C. Sosnowski, Alexandra.c.sosnowski@doj.nh.gov
            Caleb J. Smith, caleb.smith@oag.ok.gov
22          Jennifer A. Thomson, jthomson@attorneygeneral.gov
            Michael A. Undorf, michael.undorf@delaware.gov
23          Christina M. Moylan, christina.moylan@maine.gov
            Gary Honick, Ghonick@oag.state.md.us
24          Michael MacKenzie, michael.mackenzie@mass.gov

     CASE MANAGEMENT ORDER - 7                                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
            Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 9 of 13




 1          Scott A. Mertens, MertensS@michigan.gov
            Zach Biesanz, zach.biesanz@ag.state.mn.us
 2          Lucas J. Tucker, LTucker@ag.nv.gov
            Ana Atta-Alla, Ana.Atta-Alla@law.njoag.gov
 3          Jeffrey Herrera, jherrera@nmag.gov
            Timothy D. Smith, tim.smith@doj.state.or.us
 4          Stephen N. Provazza, sprovazza@riag.ri.gov
            Gwendolyn J. Cooley, cooleygj@doj.state.wi.us
 5
            Amazon
 6
            Patty A. Eakes, patty.eakes@morganlewis.com
 7          Molly A. Terwilliger, molly.terwilliger@morganlewis.com
            Heidi K. Hubbard, hhubbard@wc.com
 8          John E. Schmidtlein, jschmidtlein@wc.com
            Kevin M. Hodges, khodges@wc.com
 9          Jonathan B. Pitt, jpitt@wc.com
            Carl R. Metz, cmetz@wc.com
10          Carol J. Pruski, cpruski@wc.com
            Constance T. Forkner, cforkner@wc.com
11          Thomas O. Barnett, tbarnett@cov.com

12          10.     Presumptions of Authenticity. Documents produced by parties and nonparties

13 from their own files shall be presumed to be authentic within the meaning of Federal Rule of

14 Evidence 901. Any good-faith objection to a document’s authenticity must be provided with the

15 exchange of other objections to intended trial exhibits. If the opposing side serves a specific

16 good faith written objection to the document’s authenticity, the presumption of authenticity will

17 no longer apply to that document and the parties will promptly meet and confer to attempt to

18 resolve any objection.

19          11.     Nationwide Service of Process. To assist the parties in planning discovery, and

20 in light of the geographic dispersion of potential witnesses in this action, the Court finds that

21 there is good cause shown to permit the parties, under 15 U.S.C. § 23, to issue nationwide

22 discovery and trial subpoenas from this Court. The availability of nationwide service of process,

23 however, does not make a witness who is otherwise “unavailable” for purposes of FRCP 32 and

24
     CASE MANAGEMENT ORDER - 8                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
           Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 10 of 13




 1 FRE 804 “available” under these rules regarding the use at trial of a deposition taken in this

 2 action.

 3           12.   Modification. Any party may seek modification of this order, for good cause.

 4                                      IT IS SO ORDERED.

 5 DATED: __________

 6

 7                                                       The Honorable John H. Chun
                                                         UNITED STATES DISTRICT JUDGE
 8

 9 Presented by:

10 s/ Edward H. Takashima
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     CASE MANAGEMENT ORDER - 9                                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 11 of 13




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    CASE MANAGEMENT ORDER - 10                             FEDERAL TRADE COMMISSION
    CASE NO. 2:23-cv-01495-JHC                                 600 Pennsylvania Avenue, NW
                                                                      Washington, DC 20580
                                                                             (202) 326-2222
          Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 12 of 13




 1 s/ Michael Mackenzie                       s/ Ana Atta Alla
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     CASE MANAGEMENT ORDER - 11                           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                               600 Pennsylvania Avenue, NW
                                                                     Washington, DC 20580
                                                                            (202) 326-2222
          Case 2:23-cv-01495-JHC Document 135-1 Filed 12/15/23 Page 13 of 13




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     CASE MANAGEMENT ORDER - 12                        FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                            600 Pennsylvania Avenue, NW
                                                                  Washington, DC 20580
                                                                         (202) 326-2222
